
Shaw, C. J.
It is now settled, though formerly it was considered otherwise, that where an action is dismissed on motion for want of jurisdiction, the defendant is entitled to costs. Cary v. Daniels, 5 Met. 236 ; Jordan v. Dennis, 7 Met. 590; Hunt v. Hanover, 8 Met. 343. The only question in the present case is, whether the defendants having pleaded severally are entitled to several costs; and we think they are, having pleaded and moved severally. Mason v. Waite, 1 Pick. 456; Ewer v. Beard, 3 Pick. 64; West v. Brock, 3 Pick. 303 ; Fales v. Stone. 9 Met. 316.
*315In taxing several costs for the defendants, however, it will be understood, that expenses incurred for the use of all, as depositions and the like, for the common benefit, can be taxed against the plaintiff but once only.
